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12
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13

14   UNITED STATES OF AMERICA,                         ) CASE NO. 17-CR-533-EMC
                                                       )
15           Plaintiff,                                ) Declaration of Ajay Krishnamurthy
                                                       )
16      v.                                             )
                                                       )
17   JONATHAN JOSEPH NELSON et al.,                    )
                                                       )
18           Defendants.                               )
                                                       )
19

20 I, Ajay Krishnamurthy, declare as follows:

21      1. I am an Assistant United States Attorney assigned to the prosecution of this case. Attached as
22 Exhibit 1 is a true and accurate copy of Jorge Gil-Blanco’s “Statement of Opinion” regarding the Hells

23 Angels. It was produced to the defense as EXPERT-00000254–318 on January 31, 2020.

24           I declare under penalty of perjury that the foregoing is true and correct to the best of my
25 knowledge. Executed on September 22, 2020 in San Francisco, California.

26

27                                                                 _/s/_Ajay Krishnamurthy______________
                                                                   AJAY KRISHNAMURTHY
28
                                                                   Assistant United States Attorney
                                                          1
